            Case 3:14-cv-00189-TCB Document 1 Filed 11/25/14 Page 1 of 6




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           NEWMAN DIVISION

CHARQUELA RAGLAND,                              )
                                                )
                     Plaintiff,                 )
                                                )
       v.                                       )
                                                )
RIEXINGER & ASSOCIATES, LLC.,                   )
                                                )
                     Defendant.                 )

                                    COMPLAINT

              NOW COMES the plaintiff, CHARQUELA RAGLAND, by and

through her/his attorneys, Fortas Law Group, LLC., and for her Complaint against

the defendant, RIEXINGER & ASSOCIATES, LLC., the plaintiff states as

follows:

                           I.     PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the

Fair Debt Collection Practices Act (hereinafter “FDCPA”), 15 U.S.C. §1692, et

seq.

                            II.    JURISDICTION & VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. §1692 et seq., and

pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1337.

                                       Page 1 of 6
           Case 3:14-cv-00189-TCB Document 1 Filed 11/25/14 Page 2 of 6




      3.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

                                   III.      PARTIES

      4.      CHARQUELA RAGLAND, (hereinafter, “Plaintiff”) is an individual

who was at all relevant times residing in the City of Griffin, County of Spalding,

State of Georgia.

      5.      The debt that Plaintiff was allegedly obligated to pay was a debt

allegedly owed by Plaintiff to Ascention Services, LP (hereinafter, “the Debt”).

      6.      The debt that Plaintiff allegedly owed Ascention Services, LP was for

a student loan or other educational goods and/or services which was for the

personal use of Plaintiff and/or used for household expenditure.

      7.      The debt Plaintiff allegedly owed was allegedly originally owed to

The College Network, Inc.

      8.      At all relevant times, Plaintiff was a “consumer” as that term is

defined by 15 U.S.C. §1692a(3).

      9.      RIEXINGER & ASSOCIATES, LLC., (hereinafter, “Defendant”) is a

law firm engaged in the collection of debt within the State of Georgia.

Defendant’s principal place of business is located in the State of Georgia.

      10.     The principal purpose of Defendant’s business is the collection of

debts allegedly owed to third parties.

                                         Page 2 of 6
         Case 3:14-cv-00189-TCB Document 1 Filed 11/25/14 Page 3 of 6




      11.    Defendant regularly collects, or attempts to collect, debts allegedly

owed to third parties.

      12.    During the course of its efforts to collect debts allegedly owed to third

parties, Defendant sends to alleged debtors bills, statements, and/or other

correspondence via the mail and/or electronic mail and initiates contact with

alleged debtors via various means of telecommunication, such as the telephone and

facsimile.

      13.    At all relevant times, Defendant acted as a debt collector as that term

is defined by 15 U.S.C. §1692a(6).

      14.    At all relevant times, Defendant acted through its duly authorized

agents, employees, officers, members, directors, heirs, successors, assigns,

principals, trustees, sureties, subrogees, representatives, and insurers.

                                IV.    ALLEGATIONS

      15.    On or about August 11, 2014, Defendant filed a lawsuit against

Plaintiff on behalf of Ascension Services, LP., as assignee of The College

Network, Inc.

      16.    The aforementioned lawsuit was filed by Defendant in an attempt to

collect the aforementioned Debt from Plaintiff.




                                      Page 3 of 6
          Case 3:14-cv-00189-TCB Document 1 Filed 11/25/14 Page 4 of 6




        17.   The filing of the aforementioned lawsuit was an attempt to collect the

debt.

        18.   The aforementioned lawsuit contained an allegation directed to

plaintiff that stated, “[n]otice his hereby given that attorney’s fees in the amount of

$777.54 will be due and collectible ten (10) days from service herewith under

provision of said agreement and pursuant to O.C.G.A. §13-1-11;”.

        19.   At the time of the filing of the aforementioned lawsuit, there existed

no law, statute, or other legal authority that provided Defendant’s or the original

creditor’s entitlement to collect attorney fees incidental to the aforementioned

Debt.

        20.   At no time prior to the filing of the aforementioned lawsuit did

Plaintiff enter into any agreement with Defendant to pay attorney fees incidental to

the aforementioned Debt.

        21.   At no time prior to the filing of the aforementioned lawsuit did

Plaintiff enter into any agreement with Ascension Services, LP to pay attorney fees

incidental to the aforementioned Debt.

        22.   At no time prior to the filing of the aforementioned lawsuit did

Plaintiff enter into any agreement with The College Network, Inc. to pay attorney

fees incidental to the aforementioned Debt.

                                      Page 4 of 6
         Case 3:14-cv-00189-TCB Document 1 Filed 11/25/14 Page 5 of 6




      23.    Defendant has, nonetheless sought to collect attorney fees from

Plaintiff incidental to the aforementioned debt.

      24.    Since the date of filing the aforementioned lawsuit, Defendant has

collected money from Plaintiff for its attorney fees.

      25.    In its attempts to collect the debt allegedly owed by Plaintiff to

Ascention Services, LP, Defendant violated the FDCPA, 15 U.S.C. §1692, in one

or more of the following ways:

             a. Falsely represented the character, amount, or legal status of any
                debt in violation of 15 U.S.C. §1692e(2)(A);

             b. Falsely represented that services had been rendered or
                compensation was due and that such services and compensation
                may be lawfully received by a debt collector for the collection of a
                debt in violation of 15 U.S.C. §1692e(2)(B);

             c. Collected funds from Plaintiff despite having no lawful authority
                to do so in violation of 15 U.S.C. §1692f(1);

             d. Was otherwise deceptive and failed to comply with the provisions
                of the FDCPA.

      26.    As a result of Defendant’s violations as aforesaid, Plaintiff has

suffered, and continues to suffer, personal humiliation, embarrassment, mental

anguish and emotional distress.

                                V.    JURY DEMAND

      27.    Plaintiff hereby demands a trial by jury on all issues so triable.

                                      Page 5 of 6
        Case 3:14-cv-00189-TCB Document 1 Filed 11/25/14 Page 6 of 6




                           VI.   PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, CHARQUELA RAGLAND, by and through her

attorneys, respectfully prays for Judgment to be entered in favor of Plaintiff and

against Defendant as follows:

            a.    All actual compensatory damages suffered;

            b.    Statutory damages of $1,000.00;

            c.    Plaintiff’s attorneys’ fees and costs;

            d.    Any other relief deemed appropriate by this Honorable Court.


                                                    Respectfully submitted,
                                                    CHARQUELA RAGLAND


                                              By:    s/ Scott Fortas
                                                     Attorney for Plaintiff



   Dated: November 25, 2014

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                                    Page 6 of 6
